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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



  DR. SHIVA AYYADURAI,

                                 Plaintiff,

                            v.                           CIVIL ACTION
                                                         NO. 1:20-cv-11889-MLW
  WILLIAM FRANCIS GALVIN, in his official
  capacity as the Secretary of the Commonwealth
  of Massachusetts and his individual capacity,
  MICHELLE TASSINARI, in her individual
  capacity, DEBRA O’MALLEY, in her individual
  capacity, AMY COHEN, in her individual capacity,
  and NATIONAL ASSOCIATION OF STATE
  ELECTION DIRECTORS

                          Defendant.



    OPPOSITION TO PLAINTIFF’S EMERGENCY MOTION FOR HEARING TO
  OBTAIN AN ORDER THAT DEFENDANTS MUST IMMEDIATELY WITHDRAW
    KEYWORD “TASSINARI” FROM TWITTER’S ALGORITHM INTENDED TO
  SILENCE PLAINTIFF’S SPEECH BY WILLIAM FRANCIS GALVIN, MICHELLE
                   TASSINARI, AND DEBRA O’MALLEY



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Dated: February 9, 2021
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                                        INTRODUCTION

       On February 1, 2021, Twitter permanently suspended – or “deplatformed” – Plaintiff

Shiva Ayyadurai from its private social media platform. Plaintiff alleges, with no basis in fact,

that Twitter deplatformed him because the Secretary’s office supposedly asked Twitter to apply

an algorithm to detect any instance in which he uttered a certain word. This is not true.

Plaintiff’s “theory” is not only ridiculous but also ignores the fact that “Twitter suspends

accounts that violate the Twitter Rules,” rules that are publicly available and which Plaintiff

agreed to follow when he signed up for a Twitter account. A cursory review of Plaintiff’s

provocative Tweets over the past few months provides ample reason as to why Twitter may have

decided to remove the Plaintiff’s account: he cheered as insurrectionists violently stormed the

United States Capitol on January 6, 2021, called COVID-19 death rates a hoax and spread

unfounded conspiracies about forced vaccinations, and argued that elections in Massachusetts

and elsewhere were rigged by way of doctored voting machines. These actions all violated

Twitter’s Terms of Use. Indeed, over the past few months, Twitter suspended Plaintiff

temporarily at least three times, deleted Plaintiff’s Tweets, and labeled a number of his Tweets as

containing misinformation – all sanctions contemplated by Twitter’s Terms of Use agreement

and done of Twitter’s own volition.

       But Plaintiff does not accept personal blame for his antics that caused Twitter to remove

him from its service for violating the Terms of Use agreement. Instead, he conjures a fact-free

conspiracy theory that employees of the Secretary of the Commonwealth somehow forced

Twitter to put one employee’s name on an automated blacklist such that if Plaintiff ever spoke

this name, a trapdoor would open and Plaintiff would be deplatformed. He offers no evidence in


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support of this conjecture but instead launches into an intensely personal attack against one of

the Defendants. Plaintiff’s theory is contradicted by all admissible evidence in the record. Since

the last hearing in this case, the Secretary’s office has not reported any of Plaintiff’s myriad

misconduct to Twitter or asked anyone else to report his Tweets. Nor has the Secretary’s office

ever asked Twitter to fashion a blacklist of forbidden words. Simply put, Plaintiff pushed the

bounds of Twitter’s Terms of Use, and Twitter, acting of its own volition, deplatformed him.

       Now Plaintiff seeks to have this Court act as a means of appealing Twitter’s decision,

even though Twitter is not a party to this action, even though the Court cannot compel the

Secretary or Twitter to speak in derogation of their own First Amendment rights and contrary to

their viewpoints, and even though there is no evidence linking Twitter’s decision to any state

action by the Secretary’s office. The Court should deny this motion for preliminary injunction

and put an end to Plaintiff’s conspiracy-fueled and accusation-laden attempts to control the

actions of a third-party private entity through the Secretary.

                                  FACTUAL BACKGROUND

       On September 24, 2020, Plaintiff posted to his Twitter account (@va_shiva):




Am. Compl. at 18. Michelle Tassinari, the Director of the Elections Division of the Office of the

Secretary of the Commonwealth, believed that this Tweet was false election misinformation, so

she directed Defendant Debra O’Malley, who is the Communications Director for the Office of


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the Secretary of the Commonwealth and who runs the Elections Division’s official Twitter

account (@VotingInMass) to lodge a complaint with Twitter about Plaintiff’s Tweet, Am.

Compl. at 23-24, just as any other Twitter user could have done.1 In response to the report from

the Secretary’s Office about this single Tweet, Twitter appears to have done nothing. As

Plaintiff admits, the misleading Tweet that the Secretary’s Office complained about was never

deleted from Twitter. Am. Compl. at 18.

       On September 25, 2020, Plaintiff published four additional Tweets to his account. Am.

Compl. at 20-21. These four Tweets again alleged that the Commonwealth destroyed a million

ballots from the September primary election, and this time, included screenshots of Plaintiff’s

correspondence with Ms. Tassinari. Am. Compl. at 21-23. Plaintiff does not allege that anyone

from the Secretary’s Office complained to Twitter about these four Tweets from September 25,

2020, nor could he, because they did not do so. Twitter, as is their prerogative as a private

company, elected to remove these Tweets and temporarily suspended Plaintiff’s access to his

Twitter account pursuant to the company’s Terms of Use.2 Am. Compl. at 28. After this initial

suspension ended, Twitter twice more suspended Plaintiff for separate infractions. Am. Compl.

at 52; Am. Compl. Exhibit A at 26, 40-42.

       On October 30, 2020, after a hearing before this Court, the Secretary’s Office agreed not

to report any of Plaintiff’s Tweets to Twitter between then and 9 AM on November 4, the day

following the general election in which Plaintiff was a candidate. Affidavit of Michelle K.

Tassinari (hereinafter “Tassinari Aff.”), ¶ 5; Affidavit of Debra O’Malley (hereinafter “O’Malley

Aff.”), ¶ 5. The Secretary also agreed to instruct NASED not to further report Plaintiff’s Tweets

to Twitter. Tassinari Aff., ¶ 5. That agreement was memorialized in an order from the Court.


1
       See https://help.twitter.com/en/safety-and-security/report-a-tweet.
2
       See https://twitter.com/en/tos; https://help.twitter.com/en/rules-and-policies/twitter-rules.

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Docket No. 20. The Secretary complied with that order. Tassinari Aff., ¶ 5; O’Malley Aff., ¶ 5.

And contrary to Plaintiff’s fact-free conspiracy, at no time before or since the Court’s Order has

the Secretary’s office asked Twitter to create an algorithm flagging Tweets containing the word

“Tassinari.” Tassinari Aff., ¶ 7; O’Malley Aff., ¶ 7. In fact, in the subsequent four months, no

one from the Secretary’s office has reported any of Plaintiff’s Tweets to Twitter or anyone else.

Tassinari Aff., ¶ 6; O’Malley Aff., ¶ 6.

       Now, more than four months later, Plaintiff alleges that Twitter permanently suspended

his account, one of the many sanctions that Twitter – and only Twitter – can mete out under its

Terms of Use to users who violate this agreement.3 See Plaintiff’s Emergency Motion For

Hearing To Obtain An Order That Defendants Must Immediately Withdraw Keyword

“Tassinari” From Twitter’s Algorithm Intended To Silence Plaintiff’s Speech (hereinafter, “Pl.

Em. Mot.”), p. 2. Plaintiff’s public-facing Twitter page indicates that his account was suspended

for violation of Twitter’s rules:




Notwithstanding that, Plaintiff conjectures that this permanent suspension is the result of a

nefarious algorithm by which Twitter, at the behest of the Secretary’s office, flags for sanctions

any mention of the word “Tassinari,” as he alleges that just prior to his suspension, he mentioned


3
       See https://help.twitter.com/en/rules-and-policies/enforcement-options.

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Tassinari in a video posted to his account, for the first time since late September. Pl. Em. Mot.,

pp. 3-5, 8. He offers no factual support for this conspiracy theory, only the unfounded

assumption that because he was suspended again, it must be true. As described in further detail

below, Plaintiff’s conspiracy theories and unfounded suppositions cannot, when paired with the

utter absence of factual evidence, support his request for relief.

                                            ARGUMENT

    I.      Plaintiff’s Motion for Injunctive Relief Should Be Denied Because This Court
            Lacks Jurisdiction.

            A.      Plaintiff’s Request for Relief is Barred by the Eleventh Amendment.

         Plaintiff’s motion for a preliminary injunction against the Secretary first fails because it –

like his entire injunctive relief claim against the Secretary in his official capacity – is

jurisdictionally barred by the Eleventh Amendment, as he fails to provide any evidence that there

is an ongoing course of conduct by the Secretary’s office that can be enjoined to rectify an

alleged constitutional violation. The Eleventh Amendment provides that federal jurisdiction

“shall not be construed to extend to any suit in law or equity, commenced or prosecuted against

one of the United States by Citizens of another state.” U.S. Const. amend. XI. The Supreme

Court has held that “[t]he ultimate guarantee of the Eleventh Amendment is that non-consenting

States may not be sued by private individuals in federal court.” Bd. of Trs. of Univ. of Ala. v.

Garrett, 531 U.S. 356, 363 (2001). This Eleventh Amendment proscription is subject to a narrow

exception recognized more than a century ago in Ex parte Young, 209 U.S. 123, 159–160 (1908).

Under Ex parte Young, federal courts can prospectively enjoin state officials from continuing to

violate the U.S. Constitution or other federal law, “notwithstanding the absence of consent,

waiver or evidence of congressional assertion of national hegemony.” Rosie D. ex rel. John D.

v. Swift, 310 F.3d 230, 234 (1st Cir. 2002) (citation omitted). But “the theory of Young has not



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been provided an expansive interpretation.” Pennhurst State Sch. & Hosp. v. Halderman, 465

U.S. 89, 102 (1984).

       In determining whether a suit falls within the narrow exception carved out in Ex parte

Young, it is “the substance, rather than … the form of the relief sought” that matters. Papasan v.

Allain, 478 U.S. 265, 278-79 (1986). The Ex parte Young doctrine only allows federal courts to

exercise jurisdiction over a suit in which the private plaintiff alleges ongoing violations of

federal law; suits that seek redress for past wrongs are still barred by the Eleventh Amendment.

See id. at 277–78 (noting that “Young has been focused on cases in which a violation of federal

law by a state official is ongoing as opposed to cases in which federal law has been violated at

one time or over a period of time in the past.”); Seminole Tribe of Fla. v. Fla., 517 U.S. 44, 73

(1996) (Ex parte Young permits suit against a state official to go forward where it seeks “only

prospective injunctive relief in order to “end a continuing violation of federal law.”) (emphasis

added). Thus, in “determining whether the doctrine of Ex parte Young avoids an Eleventh

Amendment bar to suit, a court need only conduct a straightforward inquiry into whether [the]

complaint alleges an ongoing violation of federal law and seeks relief properly characterized as

prospective.” Verizon Md., Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 645 (2002) (citation

omitted). Even where the requested relief has only future impact on the state defendant, “[t]he

pivotal question is whether the relief ‘serves directly to bring to an end a present violation of

federal law.’” Whalen v. Mass. Trial Court, 397 F.3d 19, 29 (1st Cir. 2005) (citation omitted).

         This Court lacks jurisdiction over Plaintiff’s motion (and all his injunctive claims)

against the Secretary in his official capacity because nowhere does Plaintiff provide evidence

that the Secretary has engaged in an ongoing course of conduct that would continue to deprive

Plaintiff of his federally protected constitutional rights; his claim is purely retrospective in nature

and concerns a solitary report filed with Twitter months ago, and thus the Ex parte Young

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doctrine does not apply. See Hootstein v. Collins, 670 F. Supp. 2d 110, 114 (D. Mass. 2009)

(“The Ex parte Young doctrine, then, only allows federal courts to exercise jurisdiction over a

suit in which the plaintiff alleges ongoing violations of federal law; suits that seek redress of past

wrongs are still barred by the Eleventh Amendment.”). At most, Plaintiff alleges that on a single

occasion months ago, the Secretary’s staff alleged to Twitter that one of Plaintiff’s Tweets

constituted election misinformation. See King v. Whitmer, No. CV 20-13134, 2020 WL

7134198, at *5 (E.D. Mich. Dec. 7, 2020) (concluding Eleventh Amendment barred election-

related suit where the alleged harm already occurred and thus there “is no continuing violation to

enjoin”). Twitter’s private decision months after this single report to deplatform Plaintiff –

unprompted by any action by the Secretary – does not provide a basis for circumventing the

Eleventh Amendment. This Court thus cannot grant the injunctive relief Plaintiff seeks.

           B.      Plaintiff Lacks Standing to Seek the Relief He Requests.

       Plaintiff’s request should also be rejected because he lacks standing to seek the

extraordinary remedy he proposes: a Court order requiring government officials to tell a non-

party private entity how to run its affairs. Plaintiff lacks standing to pursue this relief because

Twitter, which is not a party in this case, is not obligated to comply with either a directive from

the Secretary or an order of this Court in a case to which it is not a party.

       Generally, a Court “cannot enjoin a nonparty,” Lumber Liquidators, Inc. v. Sullivan, No.

CIV.A. 10-11890-NMG, 2011 WL 5884252, at *4 (D. Mass. Sept. 27, 2011), except under the

limited circumstances set forth by Fed. R. Civ. P. 65(d). Under Rule 65(d), the Court may only

bind through an injunction (1) a party to the action; (2) a party’s “officers, agents, servants,

employees, and attorneys;” and (3) any others who “are in active concert or participation with”

anyone that falls into the first two categories. Twitter is not a party to this case. Nor is there any

evidence in the record that Twitter is an officer, agent, servant, employee, or attorney of the


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Secretary’s office. And Plaintiff provides no coherent evidence that would show that the

Secretary’s office was in “active concert or participation with” Twitter when it decided to

deplatform Plaintiff such that an injunction here would apply to Twitter under these

circumstances. To the contrary, the only relevant evidence of interaction between Twitter and

the Secretary’s office that pertains to this suit is limited to the single instance in which the

Secretary’s office filed a single report with Twitter to complain about a Tweet of Plaintiff’s,

months before Twitter decided to deplatform Plaintiff. This is hardly the type of ongoing, active,

and concerted action required to fall within the meaning of Rule 65. See Abernathy v. Dewey,

No. CV 15-10431-FDS, 2016 WL 3976561, at *1 (D. Mass. July 22, 2016) (denying motion for

preliminary injunction against non-party prison superintendent in Section 1983 suit against

corrections officers from prison); compare Bank of New York Mellon v. Lezdey, No. 13-CV-

11118-MLW, 2014 WL 12914791, at *2 (D. Mass. Mar. 24, 2014) (stating that “the servicer of

the mortgage at the heart of the present dispute, could be characterized as an ‘agent’ or entity ‘in

active concert or participation’ with plaintiff Bank of New York Mellon).

          Because a Court order here would not rectify Plaintiff’s alleged harm – Twitter’s decision

to deplatform Plaintiff pursuant to its Terms of Use – Plaintiff’s request for an order overturning

this decision is not redressable. Accordingly, Plaintiff lacks standing to pursue this injunctive

remedy. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 568-69 (1992) (lack of redressability and

Article III standing where necessary government agencies were not parties to the case).

    II.      Even if This Court Had Jurisdiction, Plaintiff’s Motion Should Be Denied
             Because It Fails to Satisfy the High Burden for Injunctive Relief.

             A.      Standard of Review.

          The Court should deny the motion for a preliminary injunction because Plaintiff fails to

carry his substantial burden to demonstrate an entitlement to the “extraordinary and drastic



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remedy” he seeks, which is in the nature of a preliminary injunction against the Secretary. Voice

of the Arab World, Inc. v. MDTV Med. News Now, Inc., 645 F.3d 26, 32 (1st Cir. 2011) (noting

that a “preliminary injunction is an ‘extraordinary and drastic remedy’”) (citation omitted). A

preliminary injunction “is never awarded as of right.” Munaf v. Geren, 553 U.S. 674, 690

(2008). Rather, Plaintiff must establish that he is likely to succeed on the merits, that he is likely

to suffer irreparable harm in the absence of preliminary relief, that the balance of equities tips in

his favor, and that an injunction is in the public interest. See Díaz-Carrasquillo v. García-Padilla,

750 F.3d 7, 10 (1st Cir. 2014) (outlining four elements for consideration of motion for

preliminary injunction). The last two factors “merge when the Government is the opposing

party.” Nken v. Holder, 556 U.S. 418, 435 (2009). Because Plaintiff cannot carry his substantial

burden to make a “clear showing,” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997), that he is

entitled to preliminary injunctive relief, his motion should be denied.

           B.      Plaintiff Is Not Likely to Succeed on the Merits of his Claims.

                   1.      Plaintiff Cannot Show That the Alleged Action He Complains
                           About was State Action to Which the First Amendment Applies.

       Once again, Plaintiff fails to adduce any cogent, admissible evidence that Twitter’s

decision to deplatform Plaintiff constituted state action to which the First Amendment applies,

and that failure is fatal to his request for a preliminary injunction. Twitter’s decision to

reprimand Plaintiff pursuant to its Terms of Use was a private act to which the First Amendment

does not apply, and there is nothing in the record that would demonstrate that Twitter’s decision

to deplatform Plaintiff can be construed as state action.

       It is axiomatic that “the constitutional guarantee of free speech is a guarantee only against

abridgement by government, federal or state.” Hudgens v. NLRB, 424 U.S. 507, 513 (1976). In

other words, to “trigger First Amendment protection, the infringement upon speech must have



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arisen from state action of some kind.” Bronner v. Duggan, 249 F. Supp. 3d 27, 41 (D.D.C.

2017) (citing Blum v. Yaretsky, 457 U.S. 991, 1002-03 (1982)). A private party can only be

characterized as a state actor under limited circumstances. See Mead v. Indep. Ass’n, 684 F.3d

226, 231 (1st Cir. 2012) (describing as “rare” the instances in which the Court will consider

private party’s acts as state action). As the Supreme Court recently emphasized, the First

Amendment only rarely applies to the conduct of a private entity. See Manhattan Cmty. Access

Corp. v. Halleck, 139 S.Ct. 1921, 1928, 1933 (2019) (deciding that cable television network was

“not subject to First Amendment constraints on how it exercises its editorial discretion with

respect to the public access channels,” and explaining that “a private entity can qualify as a state

actor in a few limited circumstances”).

       Plaintiff has previously asserted in this case – without any evidence – that Twitter

became a private actor under the so-called “state compulsion” doctrine such that the Defendants

are liable for their report to Twitter (and Twitter’s subsequent decision to sanction Plaintiff).

Under this doctrine, a private act is considered a government act only when “the state ‘has

exercised coercive power or has provided such significant encouragement, either overt or covert,

that the [challenged conduct] must in law be deemed to be that of the State.’” Estades-Negroni

v. CPC Hosp. San Juan Capestrano, 412 F.3d 1, 5 (1st Cir. 2005) (quoting Blum, 457 U.S. at

1004). For purposes of this motion, Plaintiff bears the burden of proving that the Secretary used

this coercive power in a way that transforms Twitter’s decision to deplatform Plaintiff into a

public one. See Mead, 684 F.3d at 231.

       But Plaintiff fails to provide anything beyond charged, fact-free rhetoric to substantiate

his theory that Twitter deplatformed him at the behest of the Secretary. The evidence in the

record contradicts his wild assertions. Staff from the Secretary’s office lodged one report with

Twitter months ago. Twitter later suspended Plaintiff on different occasions for posting different

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Tweets. Then, months later, Twitter, acting pursuant to its publicly available Terms of Use,

kicked Plaintiff off the Twitter platform altogether – along with, around the same time, several

other high-profile users.4 Plaintiff hypothesizes that because he was deplatformed, the only

possible explanation is that the Secretary’s office cajoled Twitter into creating an algorithm that

would automatically deplatform Plaintiff if he uttered the name of one employee in the

Secretary’s office. He has no evidence that would support such specious nonsense. Even

construing the actual evidence in the record liberally, Plaintiff’s attempt to tie Twitter’s decision

to the state (and thus the First Amendment) fails.

       This claim fails because no government coercion can be found where a private actor like

Twitter retains ultimate authority to make the decision later challenged by a plaintiff.5 See

Logiodice v. Trustees of Me. Cent. Inst., 296 F.3d 22, 28 (1st Cir. 2002) (finding that a private

school under contract to educate school district’s secondary students was not a state actor for

purposes of disciplinary decision where school retained the “sole right to promulgate, administer

and enforce all rules and regulations pertaining to student behavior, discipline, and use of the

buildings and grounds.”); Rodriguez-Garcia v. Davila, 904 F.2d 90, 97 (1st Cir. 1990) (finding

no state action with respect to private entity’s employment decision even though “management

contract and the sales agreement grant [state entity] significant control over the operations of

[private entity]” because private entity was ultimately “accorded freedom to make the initial

selections” on employment matters); Yeo v. Town of Lexington, 131 F.3d 241, 254–55 (1st Cir.

1997) (en banc) (finding no government conduct where students, not public school teachers,

retained editorial control over newspaper content). Twitter, which retains authority to discipline



4
        See https://www.washingtonpost.com/technology/2021/01/11/trump-twitter-ban/.
5
        See Morgan v. Bevin, 298 F. Supp. 3d 1003, 1006, & n.4 (E.D. Ky. 2018) (“Twitter is a
privately owned social networking site ….”).

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its users pursuant to its contractual Terms of Use, made the decision to deplatform Plaintiff

months after the Secretary filed a single report with Twitter, as to which Twitter took no action.

Where, as here, Twitter maintains final decision-making authority over the discipline of its users,

state action cannot be found. These allegations fail to show that the Secretary compelled

Twitter to act to punish Plaintiff; at most, they demonstrate only that the Secretary reported one

of Plaintiff’s misleading Tweets months ago for an alleged violation of Twitter’s civic integrity

policy, just as any other Twitter use can do by clicking “Report Tweet.”6 These allegations are

not enough to show that the state violated the First Amendment, even under Plaintiff’s risible

theory of state action in connection with his deplatforming.

       Moreover, even if the Court finds that the Defendants’ report and Twitter’s subsequent

decision to deplatform Plaintiff months later was state action caused by Defendants, Plaintiff’s

motion should still be denied because the government’s speech – here, one lone affirmative

report to Twitter that Plaintiff was making misrepresentations about the primary election – is not

subject to First Amendment regulation. As the official charged with administering fair elections

in the Commonwealth, the Secretary and the Elections Division have a solemn responsibility to

prevent voter suppression achieved through the spread of election misinformation. This task is

their job, and they are entitled to speak out to counteract such suppression attempts in the

marketplace of ideas. The First Amendment permits them to do so. The First Amendment

prohibits Congress and other government entities and actors from “abridging the freedom of

speech.” It “does not say that Congress and other government entities must abridge their own

ability to speak freely.” Matal v. Tam, 137 S.Ct. 1744, 1757 (2017). The First Amendment, the

Supreme Court has made clear, “does not regulate government speech.” Pleasant Grove City v.



6
       See https://help.twitter.com/en/safety-and-security/report-a-tweet.

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Summum, 555 U.S. 460, 467 (2009). Here, the employees of Secretary’s office, which is

charged with ensuring free and fair elections in the Commonwealth, reported Plaintiff’s

misleading election Tweet. The government can permissibly do so under the First Amendment

because these statements are government speech. See Sutliffe v. Epping School Dist., 584 F.3d

314, 329–30 (1st Cir. 2009) (holding that municipality’s refusal to place hyperlink on municipal

website to website of group opposed to municipal budget constituted government speech). The

Secretary’s staff used the office’s social media account to make a report to Twitter. That is,

these government officials entered the marketplace of ideas and told Twitter of their belief that

Plaintiff’s speech was election misinformation. This act does not run afoul of the First

Amendment. See Davison v. Randall, 912 F.3d 666, 686 (4th Cir. 2019) (government official’s

“references on the Chair’s Facebook Page to other Pages, personal profiles, and websites amount

to governmental speech” that is not subject to First Amendment regulation); Shurtleff v. City of

Boston, No. 18-CV-11417-DJC, 2020 WL 555248, at *4 (D. Mass. Feb. 4, 2020) (concluding

that city’s decision to fly third-party flags on government property was government speech);

Griswold v. Driscoll, 625 F. Supp. 2d 49, 54 (D. Mass. 2009), aff’d on other grounds, 616 F.3d

53 (1st Cir. 2010) (“Public officials have the right to recommend, or even require, the curriculum

that will be taught in public school classrooms. Doing so is a form of government speech, which

is not generally subject to First Amendment scrutiny. There is no requirement that such

government speech be balanced or viewpoint neutral.”).

                   2.      Plaintiff Is Not Entitled to an Order Compelling Speech.

       Plaintiff’s request for preliminary injunctive relief requiring Twitter – with the

Secretary’s assistance – to reinstate Plaintiff to its private platform or to revise any computer

algorithms he speculates Twitter may employ should also be rejected because it improperly asks

this Court to compel speech by an elected state official and by Twitter, both of whom retain the


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right to speak – or to choose not to speak – under the First Amendment. Compulsions of speech,

the Supreme Court has maintained, are as constitutionally suspect as are government restrictions

of speech. As the Court has explained, “the First Amendment guarantees ‘freedom of speech,’ a

term necessarily comprising the decision of both what to say and what not to say.” Riley v. Nat’l

Fed’n of the Blind of N.C., Inc., 487 U.S. 781, 796–97 (1988); Janus v. Am. Fed’n of State, Cty.

& Municipal Employees, Council 31, 138 S. Ct. 2448, 2463 (2018) (“freedom of speech

‘includes both the right to speak freely and the right to refrain from speaking at all.’”) (citations

omitted). “Compelling individuals to mouth support for views they find objectionable violates

that cardinal constitutional command, and in most contexts, any such effort would be universally

condemned.” Id. The injunction sought by Plaintiff here seeks to do precisely what is forbidden

by the First Amendment: having this Court compel a private entity (Twitter) and an elected

official (the Secretary and his employees) to speak out by affirmatively carrying or endorsing

Plaintiff’s messages. See Sindi v. El-Moslimany, 896 F.3d 1, 32 (1st Cir. 2018) (concluding that

court injunctions that implicate future speech are subject to First Amendment scrutiny).

       The Secretary, as an elected official, is permitted by the First Amendment to have his

own viewpoints and to speak out – or decline to speak – on matters of public concern. “When a

government entity embarks on a course of action, it necessarily takes a particular viewpoint and

rejects others. The Free Speech Clause does not require government to maintain viewpoint

neutrality when its officers and employees speak about that venture.” Matal, 137 S.Ct. at 1757.

“When the government speaks, for instance to promote its own policies or to advance a particular

idea, it is, in the end, accountable to the electorate and the political process for its advocacy. If

the citizenry objects, newly elected officials later could espouse some different or contrary

position.” Bd. of Regents of Univ. of Wis. Sys. v. Southworth, 529 U.S. 217, 235 (2000). As

relevant here, the Secretary’s staff spoke out in September to voice concern about a single Tweet

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containing election misinformation. The Secretary thus participated in the marketplace of ideas

to respond to speech he deemed contrary to his office’s mission to ensure fair and free elections

in the Commonwealth and that could lead to disenfranchisement of voters who did not believe

their votes would be counted. The instant motion seeks to go far beyond Plaintiff’s initial

preliminary injunction motion, which sought only to prevent further protected speech by the

Secretary about Plaintiff’s misinformation; now, he seeks to have this Court not only compel the

Secretary to speak to Twitter, but also to compel the content of that speech so that it urges

Twitter to put Plaintiff back onto its platform. Just as it would be inappropriate for this Court to

direct a private company to adopt certain viewpoints, neither the Plaintiff nor this Court can

compel the Secretary to speak or dictate the content of that speech.

        Twitter, of course, is a private social media company that has its own viewpoints and

rights to freedom of association. As relevant here, these viewpoints are most notably expressed

in Twitter’s Terms of Use, which articulate certain standards that all users agree to follow if they

want to post messages on Twitter’s platform. Those who violate these rules are subject to

Twitter’s sanctions, including deplatforming. Twitter’s viewpoints are protected speech, and the

Court cannot compel it to publish viewpoints on its service that are not its own or force Twitter

to associate with those it does not wish to associate with. See Miami Herald Publishing Co. v.

Tornillo, 418 U.S. 241, 256 (1974) (striking down “right-of-reply statute” because it directly

interfered with the newspaper’s editorial right to speak in its own newspaper); Pacific Gas &

Elec. Co. v. Pub. Util. Comm’n of Cal., 475 U.S. 1, 13-17 (1986) (Powell, J., plurality op.)

(forbidding compelling a private corporation to provide a forum for views other than its own as

violation of First Amendment); Boy Scouts of America v. Dale, 530 U.S. 640, 648 (2000)

(group’s freedom of expressive association was violated when a state law required the

organization to accept members it did not want to accept).

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                   3.     Plaintiff’s Claim is Utterly Devoid of Factual Support.

       Plaintiff’s fantastical theory about a nefarious Twitter algorithm to flag mentions of the

word “Tassinari” is unsupported by any evidence and is belied by the factual record of the

limited interaction between Twitter and the Defendants regarding the Plaintiff. Defendant

O’Malley, at Tassinari’s direction, reported a single Tweet of Plaintiff’s, which was the subject

of the Court’s previous order. That Tweet did not mention Tassinari by name, and the report was

evidently unavailing to Twitter, as that Tweet was not removed. Later, Twitter issued several

temporary suspensions to the Plaintiff and asked him to remove several other Tweets – but not

the one that O’Malley reported. The Secretary’s office did not further complaint to Twitter

Plaintiff or any of his Tweets. Nor has the Secretary’s office ever asked Twitter to include any

words in an algorithm that would result in Plaintiff’s Twitter account being suspended. Plaintiff

somehow leaps to the conclusion that the single report of a Tweet not containing the word

Tassinari inexorably caused Twitter to implement an algorithm flagging the word Tassinari,

thereby causing Plaintiff’s Twitter account to be permanently suspended within hours of

mentioning Tassinari’s name in a video posted to his account. In the alternative, Plaintiff argues

that the Secretary’s employees had subsequent communications with Twitter to order Twitter to

create this algorithm.7 In doing so, he offers exactly zero facts supporting the existence of such

an algorithm, arguing only that it must exist because it is the only conceivable reason why his

account was suspended. He offers no evidence supporting his claim that his mention of

Tassinari’s name caused the suspension.8 Significantly, Plaintiff’s suspension occurred against


7
        It is unclear from Plaintiff’s motion whether Plaintiff is suggesting that the Secretary
insisted that this algorithm be applied only to his Tweets or all Tweets. Either way, it does not
matter because the Secretary never asked Twitter to do anything of the sort.
8
        Plaintiff assumes that his suspension was caused by the video in which he mentioned
Tassinari because he was allegedly suspended hours after that video was posted. But he offers
                                                                                (footnote continued)

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the backdrop of Twitter, in the weeks following the January 6 violence at the U.S. Capitol,

appearing to have increased its suspensions of accounts for election misinformation and

insurrection-related Tweets.9

       Moreover, given the content of some of Plaintiff’s other recent Tweets, it is also possible

that he was suspended for claiming on or around January 14 that COVID-19 death rates were

exaggerated:




or for, on January 6, cheering on the insurrectionists who invaded the Capitol:




or for, on the same day, claiming that Americans are subject to forced vaccinations:


no factual support for the inference that Twitter is able to, or in fact does, monitor its hundreds of
millions of users in real-time such that suspensions are implemented immediately following the
alleged rules violation. Indeed, some of Twitter’s recent high-profile suspensions occurred days
after the offending Tweet (or in most instances, Tweets). Moreover, Plaintiff’s theory is belied
by the fact that a simple search of the word “Tassinari” on Twitter yields numerous hits.
9
        See, e.g., https://www.nytimes.com/2021/01/08/technology/twitter-trump-
suspended.html; https://www.nbcnews.com/business/business-news/twitter-permanently-
suspends-mypillow-ceo-election-misinformation-n1255651;
https://www.cnn.com/2021/01/17/politics/marjorie-taylor-greene-twitter/index.html.

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       The bottom line is that neither the Defendants, nor, more importantly, the Plaintiff, know

why Twitter decided to suspend the Plaintiff’s account, aside from the displayed statement that

“Twitter suspends accounts which violate the Twitter Rules.”10 See https://twitter.com/va_shiva.

Plaintiff offers no evidence as to what particular Twitter rule he is alleged to have violated, no

evidence as to what Tweet (or Tweets) caused his suspension, and no evidence as to whether his

suspension was the result of a single Tweet or a pattern of sharing content that violated Twitter’s

rules. Plaintiff has only speculation and unsupported theories of collusion and algorithms that

plainly fall short of the high bar necessary to demonstrate that he is entitled to an injunction

compelling the Defendants’ speech to Twitter. But the affidavits submitted by the Secretary with

this opposition – based on personal knowledge, unlike Plaintiff’s speculation-laden affidavit –

contradict Plaintiff’s fanciful theories; nothing like what Plaintiff suggests actually happened.

       C.      The Balance of the Equities Favors Denying an Injunction that Would
               Interfere with a Private Business’s Decision to Police Behavior on its
               Platform.

       Plaintiff’s failure to establish that he will likely prevail on his injunctive claims alone

warrants denial of his motion for preliminary injunction. But to the extent this Court considers

the other factors, the balance of hardships and the public interest weigh decisively against the



10
       The Twitter Rules cover wide and varied ground, with sections on Safety, Privacy,
Authenticity, and Third-party advertising in video content. See https://help.twitter.com/en/rules-
and-policies/twitter-rules.

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interlocutory relief requested by Plaintiff. Plaintiff’s motion should be denied because there is a

strong public interest in ensuring that private plaintiffs cannot use the Courts to dictate particular

speech by the government. Moreover, this Court should not allow Plaintiff to force private

social media companies to carry messages they disagree with, thus thwarting their ability to

combat misinformation spread on their platforms, particularly messages that undercut the

credibility of the democratic process or that tend to foment discord and disruption. See Halleck,

139 S. Ct. at 1932 (cautioning that Courts should not interfere with decisions taken by private

businesses because doing so “could eviscerate certain private entities’ rights to exercise editorial

control over speech and speakers on their properties or platforms.”). The Court is not the proper

theater for such efforts. If a person does not like a government’s speech, the recourse is at the

ballot box. If a person does not like a social media company’s viewpoints or terms of use, that

person can argue with the platform or choose a different social media platform.

       Even assuming that the Secretary’s initial report to Twitter somehow resulted in Twitter’s

decision to deplatform Plaintiff – an assumption unsupported by any evidence – the Secretary’s

decision to make an initial report to Twitter that Plaintiff had posted election-related

misinformation to his account should be commended, not condemned. The Secretary is charged

with ensuring free and fair elections in Massachusetts. The Supreme Court has recognized that

“States certainly have an interest in protecting the integrity, fairness, and efficiency of their

ballots and election processes as means for electing public officials.” Timmons v. Twin Cities

Area New Party, 520 U.S. 351, 352 (1997). When others make statements that are inconsistent

with that goal and undermine the voter’s faith in the election process, the Secretary is

empowered to speak out and to set the record straight, and the First Amendment permits him to

do so. The public’s interest in free elections, by contrast, is ill-served by preventing the

Secretary and his staff from speaking out to ensure that the record on elections in the

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Commonwealth is clear. The Secretary is a trusted source for election-related information in

Massachusetts, and the public has a vested interest in permitting its elected officials to speak on

matters of critical public importance. Plaintiff’s requested injunction would undermine the

Secretary’s ability to maintain the integrity of the election, effect a prior restraint on the free

speech of an elected official, and stifle the ability of public officials to make statements to

correct the record on areas of public concern, and should be denied.

                                           CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court deny Plaintiff’s

motion.


                                                Respectfully submitted,

                                                Defendants,

                                                WILLIAM FRANCIS GALVIN, in his official and
                                                individual capacities, MICHELLE TASSINARI, in
                                                her individual capacity, and DEBRA O’MALLEY,
                                                in her individual capacity,

                                                By their attorneys,

                                                MAURA HEALEY
                                                ATTORNEY GENERAL

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Date: February 9, 2021




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                                  CERTIFICATE OF SERVICE

        I, Adam Hornstine, Assistant Attorney General, hereby certify that I have this day,
February 9, 2021, served the foregoing Memorandum, upon all parties, by electronically filing
to all ECF registered parties, and paper copies will be sent to those indicated as non-registered
ECF participants.

                                             /s/ Adam Hornstine
                                             Adam Hornstine




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